  

gPage 1 of 3

AFFIDAVIT OF SERVICE

 

UNITED STATES DISTRICT COURT
Southern District of Florida

Case Number: 1 :21-CV-21312-BB

Plaintiff:
vs.
FTR2021001374

Defendant:

VPRART, LLC, Erin Gilbert and Patrick Gilbert, Individually and as Natural
Parents and Guardians of their Minor Childres, F.G., H.G., and P.G.,

For: Rory Eric Jurman, Esq

Received by First Response Process Corp. on the 16th day of April, 2021 at 5:09 pm Pe on ERIN
GILBERT, 6792 CANAAN RDG, KIN SILL, Vi 00850,9978, |, Wa Wty Whe being duly
Swom, depose and say that on the day of 2027 at-Z: m., executed service by

delivering a true copy of the Summons in A Civil Action and Amended Complaint For Declaratory Relief With
Exhibits A-D in accordance with state statutes in the manner marked below:

() INDIVIDUAL SERVICE: Served the within-named person.

Pi Suasprure SERYICE: By serving LEE Lp LIE” ag,

 

() POSTED SERVICE: After attempting service on / __at andon_/ sat to a conspicuous
place on the property described herein.

() NON SERVICE: For the reason detailed in the Comments below.

Military Status: ( ) Yes or (“}No If yes, what branch?

Marital Status:( {Married or ( ) Single Name of Spouse ~~2422 livia Sa

COMMENTS: __ \ OME, LEE ie. KEE Ketan @

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(KAMEN Loe LEMEELS,)

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Age fs soi) Race CAE Height 2 Weight / Cl) Hair LEE Glasses Y-§>

 

 
Case 1:21-cv-21312-BB Document12 Entered on FLSD Docket 05/06/2021 Page 2 of 3 —

” AFFIDAVIT OF SERVICE For 1:21-CV-21312-BB

| certify that | have no interest in the above

= action, am of legal age and have proper authority in the jurisdiction in
which this service was made.

 

a — é f a a
fore me on the A {day PROCESS SERVER# (7%
Appointed in accordance wit State Statutes

First Response Process Corp.
P.O. Box 17434

Ft, Lauderdale, FL 33318
(954) 802-6884

     
 

ES JARDINS

Blic #NP-282-19

My Commission Expires: 11/08/23 Our Job Serial Number: 2021001374
St. Croix, U.S. Virgin Islands

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AO 440 (Rev. 06/12) Summons in a Civil Action

| UNITED STATES DISTRICT COURT

for the
Southern District of Florida

ADMIRAL INSURANCE COMPANY

 

Plaintiff(()

Vv. Civil Action No. 1:21-CV-21312-BB

VPRART, LLC, Erin Gilbert and Patrick Gilbert,
individually and as Natural Parents and Guardians of

their Minor Children, F.G., H.G., and P.G. server. Kitazdc ©< (buf sprue

 

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Defendant(s)

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SUMMONS IN A CIVIL ACTION

To: (Defendant's name and address) Erin Gilbert
6792 Canaan RDG

Kingshill, VI 00850-9918 29 Ute untun

St. Croix County ;
Cima bith, Sf Crom
Us. Vi ip Tslads

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a){2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,
whose name and address are: Rory Eric Jurman, Esq.

. Peter J. Lewis, Esq
Livia Viera, Esq.
Hinshaw & Culbertson, LLP
One East Broward Bivd., Suite 1010
Fort Lauderdale, FL 33301

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

SUMMONS
Date: Apr 16, 2021

 

s/ Esperanza Buchhorst

  

Angela FE. Noble
Cherk of Court
